                        Case 5:18-cv-00198-EJD Document 148 Filed 05/17/18 Page 1 of 2


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                   Panasonic Corporation of North America
           12

           13                                  UNITED STATES DISTRICT COURT
           14                                NORTHERN DISTRICT OF CALIFORNIA
           15

           16      IN RE INDUCTORS ANTITRUST                         Case No. 5:18-cv-00198-EJD
                   LITIGATION
           17                                                        NOTICE OF APPEARANCE OF COUNSEL
                                                                     FOR DEFENDANT PANASONIC
           18                                                        CORPORATION

           19                                                        U.S. District Judge Edward Davila
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Gibson, Dunn &
                           NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT PANASONIC CORPORATION
Crutcher LLP
                                                  CASE NO. 5:18-CV-00198-EJD
                         Case 5:18-cv-00198-EJD Document 148 Filed 05/17/18 Page 2 of 2


               1   TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
               2          PLEASE TAKE NOTICE that attorney Daniel G. Swanson of the law firm Gibson, Dunn &
               3   Crutcher LLP, a member of the State Bar of California (116656) and admitted to practice in this
               4   Court, and whose contact information appears below, hereby enters an appearance as an attorney of
               5   record for Defendant Panasonic Corporation in the above-captioned case.
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           11       Dated: May 17, 2018
           12

           13                                                           GIBSON, DUNN & CRUTCHER LLP
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                                                                        By:   /s/ Daniel G. Swanson
           15
                                                                        Daniel G. Swanson
           16                                                           Scott D. Hammond
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           17                                                           Frances A. Smithson
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                                                                        Corporation; Panasonic Corporation of North
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Gibson, Dunn &              NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT PANASONIC CORPORATION
Crutcher LLP                                       CASE NO. 5:18-CV-00198-EJD
